
PER CURIAM.
The doctrine of spoliation arises when it is alleged that a crucial piece of evidence is unavailable at the time of trial due to action by one or the other of the parties. See, eg., Sponco Mfg. v. Alcover, 656 So.2d 629 (Fla. 3d DCA 1995), rev. dismissed, 679 So.2d 771 (Fla.1996). In the instant ease, the accelerator cable which allegedly malfunctioned was available at the time of trial, and there was testimony in reference to same. There being no spoliation in fact, it was error to give a jury instruction on spoliation, and therefore the final judgment on the verdict in favor of the defendant is reversed and returned to the trial court for a new trial.
